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                                UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

KHOLKAR VISHVESHWAR GANPAT,               *                   CIVIL ACTION
    Plaintiff,                            *
                                          *                   NO. 18-13556 “E” (4)
VERSUS                                    *
                                          *                   JUDGE SUSIE MORGAN
EASTERN PACIFIC SHIPPING PTE. LTD.,       *
d/b/a “EPS”,                              *                   CHIEF MAGISTRATE JUDGE
       Defendant.                         *                   KAREN WELLS ROBY
*******************************************

  PLAINTIFF’S SUPPLEMENTAL RESPONSE TO EASTERN PACIFIC SHIPPING’S
          MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST
      PLAINTIFF’S JONES ACT CLAIMS AND TO STRIKE JURY DEMAND

MAY IT PLEASE THE COURT:

                                      I. INTRODUCTION

       Kholkar Vishveshwar Ganpat (“Plaintiff”) submits this supplemental response memorandum

in opposition to Eastern Pacific Shipping Pte. Ltd.’s (“EPS”) May 3, 2022 “Motion for Partial

Summary Judgment Against Plaintiff’s Jones Act Claim and to Strike Jury Demand”1 because of

information provided by EPS in its May 23, 2022 Answers2 to Plaintiff’s April 22, 2022

Interrogatories. This information - especially EPS’ answer to Interrogatory No. 4 - bears directly on

EPS’ Jones Act-related motion for summary judgment and provides good and sufficient reasons why

Your Honor should deny it.3



       1
           See Rec. Doc. 277.
       2
           See Exhibit 1.
       3
        EPS’ answers to interrogatories also affect the choice of law issue which the Court’s
January 31, 2022 Scheduling Order directed the parties to brief. See Rec. Doc. 228 at p. 3.

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                II. EPS’ ARGUMENT FOR PARTIAL SUMMARY JUDGMENT

       EPS’ Jones Act-related motion for partial summary judgment presents a rehash of its choice

of law argument. It goes as follows:

       “This Court should strike the Plaintiff’ jury demand because his SEA4 clearly
       chooses the law of Liberia. Under Title 21 of the Liberian Code of Laws of 1956, the
       law of Liberia incorporates the nonstatutory law of the United States. As such, under
       Liberian law, Plaintiff does not have a statutory Jones Act claim. Without the
       application of the Jones Act, there is no basis for Plaintiff’ federal question
       jurisdiction.”5

       Thereafter, EPS argues that if the Jones Act does not apply, sand only non-statutory law

applies, then the Jones Act’s right to trial by jury on negligence claims and joined seaworthiness

claims is lost. For the reasons stated below, EPS is incorrect.

                         III. THE SUMMARY JUDGMENT STANDARD

       EPS bears the initial burden of informing the Court of the basis for its motion, and identifying

those portions of the record which it believes demonstrate the absence of a genuine issue of material

fact.6 It has not done so.7 Mr. Kholkar, however, has presented “specific facts showing there is a

genuine issue for trial.”8 In ruling on this summary judgment motion, Your Honor may not resolve




       4
         The “SEA” is the December 22, 2016 Seafarer Employment Agreement between
Plaintiff and Ventnor Navigation, Inc.
       5
           See Rec. Doc. 277-1 at p. 6.
       6
           Celotex v. Catrett, 106 S.Ct. 2548, 477 U.S 317 (1986).
       7
        Most of EPS’ “answers” to interrogatories are not really answers. Instead, they are self-
serving and unsupported suppositions about matters beyond the personal knowledge of Captain
Singh.
       8
           Fed. R. Civ. P. 56(e).

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credibility issues or weigh evidence.9 This Court must assess the evidence, review the facts, and

draw any appropriate inferences based on the evidence in the light most favorable to the party

opposing summary judgment.10 Said differently, this Court must draw inferences in favor of Mr.

Kholkar “when both parties have submitted evidence of contradictory facts.”11 This Court must

assess the evidence, review the facts, and draw any appropriate inferences based on the evidence in

the light most favorable to the party opposing summary judgment.12

                III. THE SEAFARERS EMPLOYMENT AGREEMENT
              CHOICE OF LAW PROVISION DOES NOT APPLY TO EPS

       EPS’ various pleadings systematically fait to recognize that the Seafarer Employment

Agreement (“SFA”) applies only to disputes between Plaintiff and Ventnor Navigation, Inc., because

they are the only parties to the Agreement. The SFA does not recognize much less create any third-

party rights or identify any third-party beneficiaries. Indeed, the Court has already determined who

was a party to the SFA in a recent Order and Reasons:

       “The Court notes Eastern Pacific Singapore and EPS India allege in their filings in
       the Indian proceedings that there is a “contractual relationship” between Plaintiff and
       EPS India pursuant to the “Mumbai Employment Agreement.” In reality, however,
       the parties to that agreement are Plaintiff and Ventnor Navigation, Inc.




       9
        Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398-99 (5th
Cir. 2008).
       10
         Tolan v. Cotton, 572 U.S. 650, 656 (2014); Daniels v. City of Arlington, 246 F.3d 500,
502 (5th Cir. 2001).
       11
         Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (citing Lujan v. Nat’l
Wildlife Fed’n, 497 U.S. 871, 888 (1990)).
       12
         Tolan v. Cotton, 572 U.S. 650, 656 (2014); Daniels v. City of Arlington, 246 F.3d 500,
502 (5th Cir. 2001).

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       (“Ventnor”).”13

       Plaintiff has alleged he was EPS’ Jones Act employee.14 This material fact, asserted by the

non-mover, is accepted as true for purposes of this motion.15 Because the SEA’s provisions are not

germane to this lawsuit between Plaintiff and EPS, the relevant factual inquiry instead becomes

whether EPS’ answers to interrogatories prove that Jones Act negligence occurred while the M/V

STARGATE was present in Savannah.16

                                      IV. THE RUIZ FACTORS

       Plaintiff’s January 9, 2019 Declaration17 shows that regardless of whether Ventnor was his

straw Jones Act employer, a “borrowed employee” analysis under Ruiz v. Shell Oil18 clearly

establishes that EPS was his actual Jones Act employer for all times relevant. In Ruiz, the Fifth

Circuit set out nine factors which must be considered determining borrowed employee status:



       13
       See the Court’s April 5, 2022 Order and Reasons at pp. 4-5 (Rec. Doc. 265). This
document pre-dated EPS’ May 3. 2022 motion for partial summary judgment by one month.
       14
        See, e.g., Rec. Doc. 1 at ¶ 81 (“Plaintiff was a Jones Act seaman and EPS was his Jones
Act employer.”).
       15
         In ruling on a summary judgment motion, a court may not resolve credibility issues or
weigh evidence. Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398-
99 (5th Cir. 2008). The court must assess the evidence, review the facts, and draw any appropriate
inferences based on the evidence in the light most favorable to the party opposing summary
judgment. Tolan v. Cotton, 572 U.S. 650, 656 (2014); Daniels v. City of Arlington, 246 F.3d
500, 502 (5th Cir. 2001).Said differently, a court must draw inferences in favor of the non-
movant “when both parties have submitted evidence of contradictory facts.” Little v. Liquid Air
Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (citing Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871,
888 (1990)).
       16
            Plaintiff suggests that this inquiry will also resolve the choice of law issue.
       17
            Originally submitted as Rec. Doc. 27-1. A copy is attached as Exhibit 2.
       18
            Ruiz v. Shell Oil, 413 F.2d 310 (5th Cir. 1969).

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       1.     Who had control over the employee and the work he was performing, beyond
              mere suggestion of details or cooperation?

       2.     Whose work was being performed?

       3.     Was there an agreement, understanding or meeting of the minds between the
              original and borrowing employer?

       4.     Did the employee acquiesce in the new work situation?

       5.     Did the original employer terminate his relationship with the employee?

       6.     Who furnished the tools and the place of performance?

       7.     Was the new employment over a considerable length of time?

       8.     Who had the right to discharge the employee? And,

       9.     Who had the obligation to pay the employee?

       The Plaintiff’s Declaration, using the Ruiz factors, proves that he was Eastern Pacific’s

borrowed Jones Act employee at all relevant times, because:

       1.     The Master and officers of M/V STARGATE, who reported to EPS, had
              exclusive direction and control over Plaintiff and the day-to-day work he
              performed aboard the vessel;

       2.     The day-to-day work Plaintiff performed aboard M/V STARGATE related
              directly to its use by EPS as a bulk carrier;

       3.     An agreement or understanding existed between Ventnor and EPS regarding
              control of Plaintiff’s work aboard M/V STARGATE by the Master and
              Officers, as was set forth in Sections 6, 7, 20, and 21 of the SEA;

       4.     An agreement or understanding existed between Ventnor and EPS regarding
              control of Plaintiff’s work aboard M/V STARGATE by the Master and
              Officers, as was set forth in Sections 8, 9, and 10 of the Employer’s Standard
              Terms;

       5.     Plaintiff agreed-to and complied with the terms of his assignment as an Able
              Body Seaman aboard M/V STARGATE, and he worked during such hours
              and at such times as were ordered by the Master and his other superiors on
              board the vessel;

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       6.         Other than assist in placing Plaintiff aboard M/V STARGATE, Ventnor
                  thereafter played no role and gave him no orders regarding the hours he
                  worked or the tasks he performed aboard the vessel;

       7.         EPS furnished Plaintiff’s place to work aboard M/V STARGATE and
                  provided all tools and equipment that he used in the performance of his
                  assigned duties;

       8.         Plaintiff was originally employed to serve as an Able Body Seaman for a
                  period of seven (7) months, but EPS, through the Master of M/V
                  STARGATE, had the right to terminate his employment. See § 20 of the
                  SEA; and

       9.         While serving aboard M/V STARGATE, Plaintiff’s wages were paid by EPS.

       None of the above facts, set forth in Plaintiff’s January 2019 Declaration, has ever been

refuted by EPS,

                 V. EPS OWN DISCOVERY RESPONSES PROVE THAT
            JONES ACT NEGLIGENCE OCCURRED AT SAVANNAH, GEORGIA

       EPS’ May 23, 2022 Answers to Interrogatories (especially No. 4) prove that Jones Act

negligence occurred at Savannah, Georgia, which is not only fatal to its Jones Act-related motion

for summary judgment but also would resolve the pending choice of law issue in favor of the

application of U.S. law (i.e., the Jones Act and the General Maritime Law). In support of this

contention, Plaintiff shows the Court the following facts which were established by EPS itself in its

six-page answer to Interrogatory No. 4:19

       *          “The Master, Teodor Nicolae Ivanoschi, joined M/V STARGATE in
                  Savannah on April 4, 2017.”2 0



       19
         EPS’ answer to Interrogatory No. 1 identifies Director and Fleet Captain Anil Singh as
the person providing the answers to interrogatories. His knowledge is second hand with regard
to the answer to Interrogatory No. 4.
       20
            Exhibit 1, ¶ 4, at p. 5.

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       *          “Upon joining the M/V STARGATE, the Master, Mr. Ivanoschi, met with the
                  departing Master who mentioned that the Medical Chest Certificate was up
                  for renewal and that he had made a request with EPS to be sent a new one
                  while the Vessel was in Savannah.”21

       *          “The Master never saw the email dated March 29, 2017 with provisional
                  instructions for loading in Colombia and discharge in Gabon, and this was
                  not mentioned by his predecessor during the handover meeting.”22

       *          “The Vessel's Medical Chest Certificate is valid for a year and must be
                  renewed.”23

       *          “The standard process for renewal would be a few months prior to the
                  certificate's expiration, the Second Officer prepares a full inventory of the
                  chest's medical supplies.”24

       *          “An Excel file of the inventory is then sent directly to EPS' medical
                  suppliers.”25

       *          “The medical suppliers would then go through the Vessel's inventory and
                  compare it with the flag state's list of mandatory drugs and replace any
                  missing/expired items.”26

       *          “Should additional medical supplies be required, requisitions can be made




       21
       Id. Captain Ivanoschi joined the vessel on April 4, 2017. The vessel sailed on April 7,
2017. This gave Captain Ivanoschi several days to check all critical “turnover” items.
       22
            Id.
       23
            Id.
       24
          Id. See Rec. Doc. 1 at ¶ 24 (“While M/V STARGATE was at Savannah, Georgia, its
last U.S. port of call, Plaintiff was ordered by 2nd Officer German to take an inventory of the
vessel’s medical supplies.”)
       25
         Id. Plaintiff invites the Court’s attention to the critical words “to EPS’ medical
suppliers” because these words prove that EPS was responsible for procuring the anti-Malaria
drugs and not Ventnor or some other third-party.
       26
            Id.

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                  through the Vessel's computerized requisition system.”27

       *          “In that case, again, the request would go straight to the medical suppliers
                  and remain on the Vessel's system as pending until the request is
                  completed/delivered.”28

       *          “Captain Ivanoschi did not make the requisition for the Mefloquine tablets
                  ordered on the Vessel's system on the 28th of March, so this was likely
                  done by his predecessor.”29

       *          “According to the Master, the requisition still appeared as "pending" on
                  the Vessel's system when he left the Vessel at the end of his contract.” 3 0

       *          “Mefloquine is just one type of the anti-malarial drugs that was available on
                  board and the Vessel would typically have various options.”31

       *          “Delivery of the updated medical chest was scheduled during the Vessel's call
                  in
                  32
                     Savannah, however, no medical supplies reached the M/V STARGATE.”


       *          “Gulf Marine, the Vessel's suppliers attended the Vessel at about 2000 hours
                  on April 7th (the night before the Vessel's departure) to deliver some
                  supplies.”33



       27
        Id. Insofar as Ventnor is likely just a mailbox in Monrovia, Liberia, EPS likely
maintains this computer system. Plaintiff will inquire at forthcoming depositions.
       28
            Id.
       29
        Id. If Mefloquine tablets were ordered on March 28, 2017, this statement represents
EPS’ recognition of the need to have this medicine available aboard the vessel.
       30
        Id. This establishes that the departing captain passed the unresolved anti-Malaria
medicine problem to Captain Ivanoschi.
       31
        Id. Why hasn’t EPS identified what was onboard? Was Mefloquine the only missing
drug? Or were Atovaquone-proguanil, Doxycycline, or Tafenoquine also missing? If anti-Malaria
medicine was available, why did Captain Ivanoschi urge his crew to drink tonic water?
       32
            Id. at p. 7. This is a clear admission of fault and probably vessel unseaworthiness.
       33
         Id. This also seems to contradict EPS’ position that it did not deal directly to local
suppliers.

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       *          “The Master realized at this point that neither the medical chest nor the
                  additional anti-malarial drugs had been delivered.”34

       *          “The Master reported this to EPS and there were still enough medical
                  supplies onboard the Vessel including anti-malarials to reach Gabon.”35

       *          “The M/V STARGATE left Savannah on April 8th and arrived at
                  Barranquilla, Colombia for loading on 11th April.”36

       *          “The Master repeatedly advised the crew about the risks of malaria when
                  sailing in West African countries and made sure that insect repellent was
                  readily available to the crew.”37

       *          “The Master remembers clearly that each time he went to the Mess Room
                  he repeatedly told crew members to use insect repellent while also
                  reminding the crew of basic prevention steps and to spread the message
                  among other crew.”38

       *          “Prior to leaving Savannah, the Master had supplies of tonic water, which
                  contains quinine which helps fighting malaria.”39

       The foregoing excerpts from EPS’ answer to Interrogatory No. 4 shows, consistent with

Plaintiff’s original complaint, that actionable negligence occurred in Savannah, Georgia, before the

M/V STARGATE sailed. They also show that while unseaworthiness can be actionable even if it




       34
       Id. This failure to have the required medicine aboard rendered the M/V STARGATE
unseaworthy. See, e.g., Stiward v. U.S., 551 F.Supp.2d 478 (E.D. La. 2008).
       35
         Id. EPS fails to identify these anti-Malaria medicines and did not produce the report.
Further having a supply of medicine sufficient only to “reach” Gabon is not enough. Anti-
malaria medication must be administered at Gabon and for at least two weeks after departure.
       36
            Id. There is no mention of any anti-Malaria drugs being brought aboard at this port.
       37
            Id. If the crew was cautioned, there was a recognized Malaria risk.
       38
            Id. If the crew was advised how to avoid malaria infection, there was a risk.
       39
            Id. Is EPS trying to say that Captain Ivanoschi had tonic water delivered? Why?

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is unknown,40 here the Captain and Second Officer were actually aware of the problem with the

missing anti-Malaria drugs because this problem was reported to EPS.41

       EPS’ answer to Interrogatory No. 4 also departs from objective reality and its own prior

practice of carefully documenting the administration of anti-Malaria dugs.42 First, EPS states that

“there were still enough medical supplies onboard the Vessel including anti-malarials to reach

Gabon.”      If that was true, why wasn’t the administration of those “still enough onboard” anti-

Malaria medication carefully documented in the same manner as the vessel’s preceding voyage to

Abidjan, Ivory Coast, in March/April 2017?43 Why wasn’t the administration also recorded in the

vessel’s medical log, as was the case with the preceding voyage?44

       With regard to the Ivory Coast voyage (just over one month before the Gabon voyage),

Exhibits 3 and 4 show that Plaintiff (and the rest of the entire 21 person crew) were given anti-

Malaria medication during the weeks of January 21, 2017, January 28, 2017, February 4, 2017,

February 11, 2017, February 18, 2017, February 25, 2017, April 3, 2017, April 11, 2017, and April

       40
          Unseaworthiness requires only that a condition of the vessel makes it unreasonably
risky; there is no requirement that the vessel owner knew or should have known about the
condition. Mitchell v. Trawler Racer, Inc., 362 U.S. 539, 549 (1960). The duty to provide a
seaworthy vessel is completely independent of the duty under the Jones Act to exercise
reasonable care. Johnson v. Offshore Express, Inc., 845 F.2d 1347, 1354 (5th Cir. 1988).
       41
            The vessel manager/operator, EPS, thus had actual knowledge of the medical problem.
       42
       Ivory Coast, just like Gabon, is a severe Malaria risk area for the most virulent form
Plasmodium falciparum.
       43
        See Exhibits 3 and 4 (Rec. Doc. 213-4 at pp. 76 and 77 of 77) which show that in
connection with the M/V STARGATE’s port call at the Ivory Coast, the administration of anti-
Malaria medicine was carefully recorded on its own special form.
       44
        See Exhibits 5 and 6 (Rec. Doc. 213-5 at pp. 1 and 1 of 114) which show that for the
Ivory Coast port call this same information was recorded a second time in the vessel’s medical
log (Exhibits 5 and 6 are each one-half of a larger sheet).

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18, 2017. That’s eight weeks in a row!

        Despite this fastidious recording of anti-Malaria drug administration (which even included

crew member signatures), an abrupt “about face” was made before and during the Gabon voyage and

port visit. In its answer to Interrogatory No,. 4, EPS made these further representations:

        *         The Second Officer kept a weekly log of the anti-malarial pills, but it is
                  still very difficult for the officers to know which crew member had, or
                  had not, taken the pills as they may sign the log but spit out the pill
                  afterwards.45

        *         Due to the unseasonably dry and cool weather in Gabon at the time, local
                  agents advised that the risk of malaria was low.46

        *         Anti-malarial pills were therefore not required to be distributed during the
                  voyage to Gabon.47

        *         Neither the Plaintiff nor any other crew requested anti-malarials.48

                                         VI. CONCLUSION

        EPS admits “Delivery of the updated medical chest was scheduled during the Vessel's call

in Savannah, however, no medical supplies reached the M/V STARGATE.” However this lapse is

described - negligence, carelessness, inattention to detail, breach of maritime duty - it occurred while

the vessel was still in Savannah. This constitutes Jones Act negligence and also proves the vessel


        45
        Id. at p. 8. Where are the medical logs and medicine administration summary pages
EPS claims was kept by the Second Officer? The relevant entries would be dated April and May
2017.
        46
         Id. What is “low” in an endemic Malaria risk zone? How does this qualify as
professional medical advice? In what HSE manual is EPS “low risk” Malaria policy set forth?
        47
             Id. Why would a record of medicine administration be kept if administration
        48
          This is a falsehood. See the Complaint, Rec. Doc. 1 at ¶ 28 (“Plaintiff specifically
requested, but was not given, a course of prophylactic anti-Malaria medication either before or
after the vessel’s arrival at Gabon.”)

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was unseaworthy before departing Savannah. EPS, as reported to it by M/V STARGATE’s Master,

had actual knowledge of this matter. Therefore, EPS’ motion for summary judgment should be

denied.

                                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing pleading has this day been
forwarded to the following counsel of record to this proceeding by electronic transmission, facsimile
and/or by depositing same in the United States Postal Service, properly addressed and postage
prepaid, this 6th day of June, 2022.

                                              /s/ Richard M. Martin, Jr.
                                              RICHARD M. MARTIN JR.




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